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Acting United States Attorne

astern District of Washington MAR 02 2021
Stephanie Van Marter SEANF. MCAVOY, CLERK
Assistant United States Attorney SPOKANE, WASHINGTON
Post Office Box 1494

Spokane, WA 99210-1494

Telephone: (509) 353-2767

 

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA, Case No.: 4:21-CR-6008-SMyJ-3
Plaintiff,
V. Motion To Seal Indictment
JERROD JUSTIN HALE,
Defendant.

 

Plaintiff, United States of America, by and through Joseph H. Harrington,
Acting United States Attorney for the Eastern District of Washington, and
Stephanie Van Marter, Assistant United States Attorney for the Eastern District of
Washington, moves the Court pursuant to Federal Criminal Procedure Rule
49.1(d), for an Order sealing the Indictment until further order of the Court or until
Defendant’s arrest, whichever comes first.

Dated: March 2, 2021.
Joseph H. Harrington
Acting United States Attorney
s/Stephanie Van Marter

Stephanie Van Marter
Assistant United States Attorney

MOTION TO SEAL INDICTMENT - 1
